        Case 1:15-cr-00537-VEC Document 1619 Filed 02/22/21 Page 1 of 2




                                MAHER & PITTELL, LLP
                                          ATTORNEYS AT LAW
Reply To:                                                                          Long Island Office
42-40 Bell Blvd, Suite 302                                                    10 Bond St, Suite 389
Bayside, New York 11361                                                Great Neck, New York 11021
Tel (516) 829-2299                                                               Tel (516) 829-2299
jp@jpittell.com                                                                      jp@jpittell.com

November 4, 2020

Hon. Valerie E. Caproni
US District Judge
40 Foley Square
New York, NY 10007

Re: U.S. v. Conyers, et. al, 15 cr 537 (VEC) {Wendell Belle}

Dear Judge Caproni:

       I am counsel for Wendell Belle, in the above referenced matter.

       Please accept this letter in response to the Government’s letter submitted earlier today, dated
February 22, 2021,which encloses recent BOP disciplinary records.

        As referenced in my letter dated November 4, 2020, I contend that BOP disciplinary hearing
records are circumspect. BOP disciplinary hearings are not bastions of due process. For example,
Mr. Belle is not permitted to have an advocate on his behalf. The records indicate the hearing
officers are MDC employees (i.e., coworkers of the accusing officers).

        A notable example of the tenuous nature of these records is the BOP’s response to the assault
upon Mr. Belle. As described in prior submissions, while in custody at MDC, Mr. Belle was the
victim of a brutal knife slashing by two inmates. The assault resulted in his face being permanently
disfigured. Despite having advance knowledge of a threat to Mr. Belle, the MDC staff did not
prevent the attack and were slow to intervene. Incredibly, when Mr. Belle returned to MDC from
the hospital, with 35 stitches on in his face, the MDC staff served him with a disciplinary infraction,
for fighting, and sent him to the SHU. He then festered in the SHU for six weeks -- while recovering
from a serious facial injury -- before a hearing was held. At the hearing, Mr. Belle explained what
happened. Nonetheless, the hearing officer (a prison staff member) upheld the infraction because
Mr. Belle admitted he “fought” back against his attackers. Mr. Belle was then subjected to various
sanctions including a loss of good time, social visits and commissary privileges.

       My November 4th letter questioned whether that hearing was a bona fide investigation or
undertaken in order to create a record aimed at avoiding potential liability (due to negligence) by
blaming Mr. Belle for his injury. I submit the same concern holds true for the purported infractions

                                                  1
        Case 1:15-cr-00537-VEC Document 1619 Filed 02/22/21 Page 2 of 2




-- especially the one accusing him of making a sexual proposal -- referenced in the Government’s
February 22nd letter. Against the foregoing backdrop, I question whether the infraction is real or an
instance of retaliation against Mr. Belle who seeks to exercise his legal right, for recovery of
monetary damages, against the BOP.

        Additionally, it is unfair for these recent infractions to be considered in the context of Mr.
Belle’s sentencing scheduled for tomorrow. I was only notified of them today. I have not even had
any opportunity to discuss them with Mr. Belle.

                                               Respectfully submitted,
                                               /s/
                                               Jeffrey G. Pittell

cc:    Gina Castellano, AUSA
       Other Government counsel of record (by ECF)
       Wendell Belle




                                                  2
